Case 1:19-mc-01638-LDH Document 1-2 Filed 06/25/19 Page 1 of 7 PageID #: 293
                                                                                   FILED
                                                                                IN CLERK'S OFFICE
                                                                            U.S. DISTRICT COURT E.D.N.Y.
                                     DeARCYHAli,J.
                                                                           ★ JUN 25 2019 ★
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                               BROOKLYN OFFICE
                                                                 c- n
In re Application of Doosan Heavy Industries                    0.

and Construction Co., Ltd.for an Order
Directing Discovery from Liberty Maritime
Corporation Pursuant to 28 U.S.C.§ 1782                 Memorandum of Law in Support ofEx
                                                       Parte Petition for Assistance in Aid of a
                                                       Foreign Proceeding Pursuant to 28
                                                       U.S.C.§ 1782




I.     INTRODUCTION

       Petitioner Doosan Heavy Industries and Construction Co., Ltd.("Petitioner" or "Doosan")

hereby petitions this Court pursuant to 28 U.S.C. § 1782 for assistance in connection with foreign

legal proceedings.

       Petitioner seeks an order authorizing the issuance of subpoenas to Liberty Maritime

Corporation("Liberty Maritime"),a corporation that maintains its headquarters and principal place

of business in this district and that has engaged in shipping related activity in a port operated by

Kuwait Gulf Link International for Ports, Warehousing and Transport KSCC ("KGLPI"),

requesting documents and a deposition witness concerning the business relationship between

KGLPI and Liberty Maritime. Such discovery is sought in aid of pending judicial proceedings in

Egypt, as well as contemplated judicial proceedings against KGLPI in otherjurisdictions, in which

questions concerning the existence, custody, ownership, and character of KGLPI's assets and

KGLPI's relationship with its corporate affiliates are likely to arise and require adjudication.

II.    FACTUAL BACKGROUND

        A.     The Award and Ongoing Foreign Proceedings

       On January 15,2018,an arbitral tribunal ofthe International Chamber ofCommerce issued
Case 1:19-mc-01638-LDH Document 1-2 Filed 06/25/19 Page 2 of 7 PageID #: 294




an award (the "Award") in Petitioner's favor and against Damietta International Ports Company

SAE("DIPCO")and its 29.975% shareholder, KGLPI,in the amount of US$ 74 million, relating
to a contract for the supply of ship-to-shore gantry cranes. Declaration of Joshua S. Wan("Wan

Decl.")H 3. Neither KGLPI nor DIPCO,which are jointly and severally liable for the Award, has

paid any part of the Award. Id. ^ 4.

       As a result of KGLPI's and DIPCO's refusal to satisfy the Award voluntarily, Doosan has

commenced judicial enforcement proceedings in Egypt, and has obtained a precautionary

attachment in thatjurisdiction. Id.    5-6. In addition, Doosan is considering commencingjudicial

proceedings in, at a minimum, the United Arab Emirates ("UAE"), Kuwait, and Oman in
connection with its efforts to enforce the Award, as Doosan has learned that KGLPI and/or its

corporate affiliates do business in each of these jurisdictions. Doosan has acquired information
suggesting that KGLPI commingles funds with,and/or fails to observe proper corporate formalities
with respect to, its corporate affiliates, such that Doosan may seek to enforce the Award, and/or
any resulting judgment, against one or more of those affiliates. Id. ^ 9. This petition seeks
discovery of information in the possession of Liberty Maritime, who Doosan believes is a
commercial counterparty of KGLPI,concerning its payments to KGLPI,as such information will
assist Petitioner in enforcing the Award and will assist foreign courts in adjudicating issues relating

to ownership of KGLPI's assets and KGLPI's corporate form, which likely will be in question in
the anticipated enforcement proceedings.

        B.      Relationship Between KGLPI and Liberty Maritime

        KGLPI is a Kuwaiti company which develops, operates, and manages container terminals

and roll-on/roll-off operations in various countries in the Middle East and Africa, including
Kuwait, UAE, and Oman. Id. H 7. According to Kuwait and Gulf Link Transport Company's
("KGL Group")2018 Annual Report,KGLPI is an affiliate ofthe KGL Group, which owns several
Case 1:19-mc-01638-LDH Document 1-2 Filed 06/25/19 Page 3 of 7 PageID #: 295




companies that provide transportation, logistics, port management, shipping, and freight

forwarding services. Id. Other affiliates of the KGL Group include KGL Logistics, KGL

Transportation, KGL Stevedoring, and KGL General Trading & Contracting. Id.

       According to KGL Group's website, the predecessor company of the corporation that is

now known as the KGL Group became the sole stevedoring contractor in Shuwaikh Port in the

1970s and the main operator of the Shuaiba Container Terminal Port("Shuaiba Port") in Kuwait

in 1996.
    |    Id. 8. An information sheet published by SOAS University of London lists KGLPI as

the port operator with respect to "container terminals and Roll-On-Roll-Off(RORO)operations"

for the Shuaiba Port. Id. In December 2017, news sources reported that KGLPI was "blacklisted"

by the Kuwait Ports Authority, which forbade KGLPI from conducting port operations at the

Shuaiba and Shuwaikh Ports, although Petitioner believes that KGLPI has, by virtue of an order

of a Kuwaiti court, been permitted to continue its operations at both the Shuaiba and Shuwaikh

Ports. Id.


       Public sources,including KGL Group's own website,indicate that KGL Group and KGLPI

have had a longstanding relationship with the United States military, providing transportation,

logistics, and food distribution services in the Middle East under contracts awarded by various

government agencies. Id. ^ 10. Procurement documents published by the United States

government show that KGLPI was awarded stevedoring and transport contracts through Kuwaiti

ports by the United States Department of Defense ("DOD"), the largest of which is valued at
approximately US$ 25.5 million. Id.

       Upon information and belief. Petitioner understands that although the various subsidiaries
ofthe KGL Group purport to be independent companies that operate separate businesses,there is

significant intermingling of assets between the various affiliates, including between KGLPI and
Case 1:19-mc-01638-LDH Document 1-2 Filed 06/25/19 Page 4 of 7 PageID #: 296




other KGL Group entities. Id. ^ 9. Specifically, Petitioner believes that funds are transferred

between KGL Group entities through dividend payments upwards to parent companies and

through leasing of services and sharing of equipment between entities within KGL Group. Id.

       Liberty Maritime is a New York corporation with its principal place of business in this

District in Lake Success, New York. Id. f 12. Liberty Maritime is a shipping company that

operates six U.S. flag and various foreign flag vessels that transport commodities and roll-on/roll-

off cargos around the world for various U.S. government agencies, the United Nations, private

voluntary organizations, and private commercial entities. Id. Liberty Maritime's U.S. flag roll-

on/roll-off vessels are operated through its affiliate Liberty Global Logistics LLC ("Liberty

Global"). Id. The Shuaiba Port, for which KGLPI was the main operator prior to 2018, and the

Shuwaikh Port,for which KGLPI was the sole provider ofstevedoring services prior to 2018, were

both listed as scheduled ports of call for Liberty Global-operated vessels. M H 13.

       Liberty Maritime also provided transportation and shipping services to the United States

government. Id. H 14. According to Liberty Maritime's website, over the past 25 years, the

company has provided food aid shipments for various U.S. government agencies including the

United States Departments of Agriculture, State, and Defense. Id. Procurement documents

published by the United States government show that Liberty Global has been awarded 21

contracts by the DOD with a place of performance in Kuwait since 2013. Id. Many of these

contracts relate to "transportation shipments," the largest of which is valued at approximately US$

19 million. Id. Furthermore, upon information and belief. Petitioners understand that KGLPI

fulfilled a DOD contract for the transportation ofU.S. military vehicles through Liberty Maritime's

roll-on/roll-off vessels in the Shuaiba Port. Id.\ 15.
Case 1:19-mc-01638-LDH Document 1-2 Filed 06/25/19 Page 5 of 7 PageID #: 297




       Based on these facts, Doosan reasonably believes that KGLPI, as the operator of the

Shuaiba Port and stevedoring contractor for the Shuwaikh Port, is likely to have serviced Liberty

Maritime vessels during their calls at those ports, and that there have likely been transactions

between KGLPI and Liberty Maritime,the records of which would contain information that would

assist Doosan in determining the location of assets potentially subject to the Egyptian attachment

order and/or whether other KGLPI entities are proper defendants in the further proceedings that

are under contemplation.

III.   ARGUMENT

       Petitioner is entitled to the discovery sought through this application. 28 U.S.C. § 1782

provides, in pertinent part, as follows:

               The district court of the district in which a person resides or is found may
               order him to give his testimony or statement or to produce a document or
               other thing for use in a proceeding in a foreign or international tribunal...
               . The order may be made pursuant to a letter rogatory issued, or request
               made, by a foreign or international tribunal or upon the application of any
               interested person and may direct the testimony or statement be given, or the
               document or other thing be produced, before a person appointed by the
               court.


        Each of the statutory prerequisites for this Court to authorize the discovery sought herein

is present. Petitioner is an "interested person" within the meaning of 28 U.S.C. § 1782 and is
entitled to seek assistance thereunder. The discovery sought is for use in both pending and

anticipated foreignjudicial proceedings,any of which would properly be considered a "proceeding
before a foreign or international tribunal." Petitioner anticipates that the judicial proceedings will
involve questions regarding KGLPPs relationship with its corporate affiliates as well as the
existence, custody, ownership, and character of KGLPFs assets that may be subject to execution
by courts in those countries(or others)in aid ofthe Award. Finally, Liberty Maritime resides and
is found in this District.
Case 1:19-mc-01638-LDH Document 1-2 Filed 06/25/19 Page 6 of 7 PageID #: 298




        Moreover, Doosan's application satisfies the discretionary criteria established by the

Supreme Court in Intel Corp. v. Advanced Micro Devices, Inc.,542 U.S. 241,264(2004). Liberty

Maritime will not be a participant in any of the foreign proceedings, and Liberty Maritime is not

domiciled in any ofthe foreignjurisdictions,so the foreign tribunals cannot order Liberty Maritime

to produce the evidence sought hereby. Id.("[Njonparticipants in the foreign proceeding may be

outside the foreign tribunal's jurisdictional reach; hence, their evidence, available in the United

States, may be unobtainable absent § 1782(a) aid."). The proceedings are judicial proceedings

relating to a duly-rendered arbitral award, and may assist the Egyptian courts in enforcing the

attachments they have rendered. The request does not seek to "circumvent foreign proof-gathering

restrictions or other policies of a foreign country or the United States." Id. at 264-65. Finally,

allowing Petitioner to obtain the requested discovery concerning KGLPI's assets is likely to assist

Petitioner in making knowledgeable decisions and avoiding the risk of fruitless and wasteful

litigation.

        Granting the discovery sought hereby would also promote the strong public policy favoring

the enforcement of international arbitration awards and the expeditious resolution of international

disputes. See, e.g., Scherk v. Alberto-Culver Co., 417 U.S. 506, 520 n.l5 (1974). The states in

which Petitioner's enforcement actions are pending and within reasonable contemplation are all

signatories of the New York Convention, and therefore the Award is subject to recognition and

enforcement in each anticipated jurisdiction. The Court's grant ofjudicial assistance would permit

Petitioner to appropriately target their anticipated litigation efforts among those states and promote

the policies embodied in the New York Convention.

IV.     CONCLUSION

        For the forgoing reasons. Petitioner respectfully requests that the Court grant the Petition

and authorize Petitioner to issue subpoenas to Liberty Maritime in the form attached hereto as
Case 1:19-mc-01638-LDH Document 1-2 Filed 06/25/19 Page 7 of 7 PageID #: 299




Appendix A, and authorize Petitioner to issue additional subpoenas for the production of

documents and/or depositions of Liberty Maritime as Petitioner reasonably deems appropriate and

as are consistent with the Federal Rules of Civil Procedure.

Dated: New York, New York
       June 25,2019



                                             Respectfully submitted.




                                              ames E. Berger(JB 6605)
                                             Joshua S. Wan(JW 7074)

                                             KING & SPALDING LLP
                                             1185 Avenue ofthe Americas
                                             New York, NY 10036
                                             Tel:(212)556-2100
                                             Fax:(212)556-2222
                                             jberger@kslaw.com
                                             jwan@kslaw.com

                                             Attorneys for Petitioner Doosan Heavy Industries
                                             and Construction Co., Ltd.
